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Attorneys for GEORGE FLORENCIO
DISTRICT COURT

CLARK COUNTY, NEVADA

GEORGE FLORENCIO, ' di `duall ,
m "‘ y CASENOA_16-745900-C

DEPT. NO.

Plaimiff’- X><vl l l

VS.

STATE FARM MUTUAL AU'I`OMOB]LE
INSURANCE COMPANY, i.ndividually, DOES I-
X, and ROE CORPORATIONS I~X,

COMPLAINT

\./V\/V\/`_/\/\./\-/\/

Defendants.

 

Plaintiff GEORGE FLORENCIO, by and through his attorney of record, PAUL D.

' POWELL, ESQ., of THE POWELL LAW FIRM, complains against Defendant STATE FARM

MUTUAL AU'I`OMOBILE INSURANCE COMPAN`.Y, as follows:

GENERAL ALLEGA:!:IONS
1. At all relevant times herein, Pls.intiE` GEORGE FLORENCIO (“Plaintiff") was a

resident of Cla.rk County, Nevada

2. Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
(“Defendant”`) is, and at ali times mentioned herein, was, a business authorized to do the business of

properly and casualty insurance in Clark County, Nevada, and currently active and in good

 

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standing.

3. The true names and capacities of the Defendants designated herein as Doe or Roe
Corporations are presently unknown to Plaintiff, who therefore sues said Defendants by such
fictitious names. When the true names and capacities of these Defendants are ascertained, Plaintiff
will amend this Complaint accordingly `

4. l At all times pertinent herein, Defendants were agents, servants,- employees, or joint
venturers of every other Defendant, and at all times mentioned herein were acting within the scope
and course of said agency,.employment, or joint venture, with the knowledge, permission, and
consent of all other named Defendants.

5. On January 4, 2011, Plaintiff` was a passenger in a car that was involved in an
automobile crash in Clark County, Nevada.

6. Non-Party Joe Murrin (“Murrin”) was the driver of the vehicle in which Plaintift` was
a passenger.

7. An unknown third party driver caused the crash between his vehicle and the Murrin
vehicle in which Plaintiff was a passenger.

8. 'At no time has Defendant alleged that Murrin was at fault for causing the crash.

9. As a direct and proximate result of the negligence of the third-party driver, Plaintiff
sustained injuries to his back, bodily limbs, organs, and systems, all or some of which condition
may be permanent and disabling, and all to Plaintift’s damage in a sum in excess of $10,000.00.

10. As a direct and proximate result of the negligence of the third-party driver, Plaintif{"
received medical and other treatment for the aforementioned injuries, and said services, care, and

treatment are continuing and shall continue in the future, all to the damage of Plaintiff.

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ll. As a direct and proximate result of the negligence of the third-party driver, Plaintiff
has been required to, and has limited occupational and recreational activities, which have caused
and shall continue to cause Plaintit`f loss of earning capacity, lost wages, physical impairment,

mental anguish, and loss of enjoyment of life, in a presently unascertainable amountl

12. At the time of the crash, Murrin had an automobile insurance policy (the “Policy”) from
Defendant which provided uninsured/underinsured motorist insurance in an amount of $25,000.

13. The Policy also provided medical payment coverage up to $50,000.

l4. Plaintiff was covered under the Policy, specifically the underinsured/uninsured and
medical payments provisions

15. On or about October 30, 2012, Plaintiff made demand for the available policy limits
under the uninsured/underinsured motorist policy.

v 16. At the time the uninsured/underinsured demand was made, Plaintiff had over $85,000 in
charges for treatment related to injuries caused by the January 24, 201 l, crash, and had provided all
of the medical records and bills to the Defendant.

17. On or about December 18, 2013, Plaintiff made demand for the available policy limits
under the medical payments portion of the available policy.

18. At the time the medical payments demand was made, Plaintiff had over $85,000 in
charges for treatment related to the injuries caused by the January 24, 2011, crash, and had provided
an ome medical records and bins w the merchant `

l9. At the time the demands, and each of them, were made, it was clear that the value of

Plaintift`s claim was at least equal to and likely greater than the Defendant’ s policy limits.

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21. Upon information and belief, Det`endant had hired Dr. Schif).n.i on other claims to

 

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perform records reviews prior to performing his review of Plaintii`f’s records These are commonly
referred to as forensic record reviews.

22. Defendant knew or reasonably should have known that as of the date Dr. Schiiini issued
his report regarding his review of the records, the vast majority of forensic record reviews
performed by Dr. Schilini were done at the request of insurance companies and law firms
representing insurance companies

23, Defendant hired Dr. Schiiini because Defendant knew Dr. Schiiini was likely to indicate
that majority of the treatment rendered was not related to injury or pain caused by the subject crash.

24. Defendant ignored the opinions of Plaintift"s treating doctors and based its valuation of
Plaintiff‘ s claim solely on the medical opinions of Dr. Schil"ini.

25. The hiring of Dr. Schfmi by Defendant was used solely as a pre-text to offer Plaintiff
less than the full value of his claim.

26. Defendant’s refusal to make adequate payment under both the murmured/underinsured
and the medical payment provisions of the Policy to Plaintiff was made without a reasonable basis
in fact or law.

27. Defendant’s actions, including the refusal to make adequate payment to Plaintiff was
made in bad faith and for the purpose of denying the benefits of contract for miinsured/underinsured
and medical payment coverage to Plaintiif.

28. Defendant’s refusal to make adequate payment to Plaintiff was an unlawful attempt to
force Plaintiff to accept less money than the amount due under the Policy.

29. Defendant’s refusal to pay Plaintiff benefits due under the applicable contract of
insurance was malicious, willful, and intentional, and in fact, did cause injury to Plai`ntiff in excess

of $10,000.00. These actions justify an award of punitive damages

 

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30. Defendant placed its interest above that of Plaintit}` and did not give fair consideration to
Plaintiff’s interests in adjusting Plaintiff’s claim.

31. Plaintiff has been required to engage the services of an attorney, and, accordingly, has
incurred attorney’s fees and costs to bring this action.

WM_Q_N
(Breach of Contract)

32. Plaintiff repeats and realleges the allegations contained in Paragraphs l through 31 of

this Complaint as if fully set forth herein
4 33. There was a valid and existing insurance agreement issued by the Det`endant for which

Plaintiff was entitled to coverage

34. Defendant breached the agreement by, inter alia, reidsing to properly compensate
Plaintiff.

35. Plaintifi` sustained damages in excess of $10,000.00 as a result.of Defendant’s breach of
the agreement

36.P1aintiffhas been required to retain the services of an attorney to commence this action
and is entitled to attomey’s fees and costs.

§W
(Contractual Breaeh of the lmplied Covenant of Good Faith and Fair Dealing)

37. Plaintif;t` repeats and realleges the allegations contained in Par“agraphs l through 36 of
this Complajnt as if fully set forth herein.

38. There is implied in every connect a covenant of good faith and fair dealing

39. Plaintiff was covered under a valid and existing insurance agreement issued by the

Defcndant.

 

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40. Defendant owed Plainti&` a duty of good faith and fair dealing.

41. Defendant breached its duty of good faith and fair dealing by, inter alia, refusing to
properly compensate Plaintii‘i`.

42. Defendam breached is duty or good faith and fair dealing by ignoring the evidence
submitted by Plaintiii` demonstrating he was injured in this crash.

43. Defendant breached its duty of good faith and fair dealing by ignorning the opinions
of Plaintiff’s treating doctors and adopting the opinions of Dr. Schifmi.

44. Defendant breached its duty of good faith and fair dealing by hiring a doctor it lmew
would offer opinions that Plaintiff only suffered minor injury, that the treatment was not related to
injury caused by the crash, and that the billing was not usual and customary.

45. Plaintift` has been required to retain the services of an attorney to commence this action
and is entitled to attorney’s fees and costs.

THIRD CA!JSE QF A§TION
('I`ortious Breach of the Implied Covenant of Good Faith and Fair Dealing)

46. Plaintiff repeats and realleges the allegations contained in Paragraphs 1 through 45 of
this Complaint as if fully set forth herein.

47. There implied in every contract a covenant of good faith and fair dealing.

48. As an insurer, Defendant owed Plaintiff a fiduciary-like duty, and there was a special
element of reliance by Plaintili’.

49. Defendant breached its duty of good faith and fair dealing by, inter alia, refusing to
properly compensate Plaintiti’ and by offering substantially less than the reasonable value of

PlaintiH’ s claim.

 

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50. Defendant breached its duty of good faith and fair dealing by ignoring the evidence
submitted by Plaintiff demonstrating he was injured in this crash.

51. Defendant breached its duty of good faith and fair dealing by hiring a doctor it knew
would offer opinions that Plaintiff only suffered minor injury, that the treatment was not related to
injury caused by the crash, and that the billing was not usual and customary.

52. Dcfendant breached its duty of good faith and fair dealing by ignoring the opinions of
Plaintiit’s treating doctors and adopting in total the opinions of Dr. Schihni.

53. Defendant breached its duty of good faith and fair dealing by hiring a doctor to review
Plaintiff’s medical records when Defendant knew, or upon reasonable inquiry should have known,
that vast majority of forensic expert work performed by Dr. Schitini was on behalf of insurance
companies or law firms that represent insurance companies

54. Plainti.ff sustained damages in excess of $10,000.00 as a result of Defendant’s breach of
the implied covenant of good faith and fair dealing.

55. Plaintiff is further entitled to punitive damages pursuant to NRS 42.001 et seq. as a result
of Defendant’s breach of the implied covenant of good faith and fair dealing

56. Pla.intiff has been required to retain the services of an attorney to commence this action
and is entitled to attomey’s fees and costs.

WC_“_QN
(Unfair Trade Practiees)

57. Plainti_ft:` repeats and realleges the allegations contained in Paragraphs l through 56 of
this Complaint as if fully set forth herein.

58. The acts of Def.endant constitute unfair trade practices pursuant to NRS 686A.310,

including Defendant’s failure to properly settle Plaintiff’ s claim.

 

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59. The acts of Det`endant herein constitue a failure to effectuate prompt, fair and equitable
settlment of the claim in which the liability of the Defendant has become reasonably clear.

60. Plaintiff sustained damages in excess of $10,000.00 as a result of Defendant’s unfair
trade practices. 1 y

6 l . Plaintii’f is further entitled to punitive damages pursuant to NRS 42.001 et seq. as a result
of Defcndant’s unfair trade practices

62. Plaintiff has been required to retain the services of an attorney to commence this action
and is entitled to attorney’s fees and costs.

WHEREFORE, Pla.intiti`, expressly reserving the right to amend this Cornplaint prior to or at
the time of trial of this action, to insert those items of damage not yet fully ascertainable, prays

judgment against all Defendants, and each of them, as follows;

l. For general damages in an amount in excess of $10,000;

2. For special damages in anl amount in excess of $10,000;

3. For punitive damages in an amount to be determined at trial;

4. For reasonable attomey's fees and costs of suit;

5. For interest at the statutory rate; and

6. For such other and further relief as the Court deems just and proper.

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DATED this 21 5 day of October, 2016.
THE PO L

 

 

 

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